Case 2:22-cv-01916-FWS-GJS           Document 91      Filed 12/03/24     Page 1 of 2 Page ID
                                          #:820


 __________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL
                                                                             JS-5
Case No.: CV 22-01916-FWS (GJSx)                                       Date: December 3, 2024
Title: Abdirahman Aden Kariye et al v. Alejandro Mayorkas et al

Present: HONORABLE FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

        Melissa H. Kunig                                          Not Reported
         Deputy Clerk                                             Court Reporter

  Attorneys Present for Plaintiff:                        Attorneys Present for Defendant:

           Not Present                                             Not Present

PROCEEDINGS:          (IN CHAMBERS) ORDER REOPENING CASE & SCHEDULING
                      ORDER

       In light of the Ninth Circuit’s Memorandum [89] and Mandate [90], the court sets the
following schedule:

 Check one: [ ] Jury Trial or [x] Bench Trial                                      1/27/2026
 [Tuesday at 8:00 a.m.]
 Parties’ Estimated Trial Length                                                     4 days
 Pretrial Conference & Hearing on Motions in Limine                                 1/8/2026
 [Thursday at 8:30 a.m.]
 Deadline for Defendant to File an Answer to the First Amended Complaint           12/30/2024
 Last Date to Hear Motion to Amend Pleadings /Add Parties [Thursday]                 3/6/2025
 Non-Expert Discovery Cut-Off                                                       7/10/2025
 (no later than deadline for filing dispositive motions)
 Expert Disclosure (Initial)                                                        7/24/2025
 Expert Disclosure (Rebuttal)                                                        8/7/2025
 Expert Discovery Cut-Off                                                           8/21/2025
 Last Date to Hear Motions [Thursday]                                              10/16/2025
  • Motion for Summary Judgment due at least 6 weeks before hearing

  • All other motions due at least 4 weeks before hearing

  • Opposition due 2 weeks after Motion is filed

  • Reply due 1 week after Opposition is filed

 Deadline to Complete Settlement Conference [L.R. 16-15]                           10/30/2025
      [x] 1. Magistrate Judge
      [ ] 2. Court’s Mediation Panel
      [ ] 3. Private Mediation


______________________________________________________________________________
                         CIVIL MINUTES – GENERAL                            1
Case 2:22-cv-01916-FWS-GJS          Document 91       Filed 12/03/24     Page 2 of 2 Page ID
                                         #:821


 __________________________________________________________________
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: CV 22-01916-FWS (GJSx)                                       Date: December 3, 2024
Title: Abdirahman Aden Kariye et al v. Alejandro Mayorkas et al
 Trial Filings (first round)                                                        12/11/2025
  • Motions in Limine with Proposed Orders

  • Memoranda of Contentions of Fact & Law [L.R. 16-4]

  • Witness Lists [L.R. 16-5]

  • Joint Exhibit List [L.R. 16-6.1]

  • Joint Status Report Regarding Settlement

  • Proposed Findings of Fact & Conclusions of Law [L.R. 52] (bench trial only)

  • Declarations containing Direct Testimony, if ordered (bench trial only

 Trial Filings (second round)                                                       12/18/2025
  • Oppositions to Motions in Limine

  • Joint Proposed Final Pretrial Conference Order [L.R. 16-7]

  • Joint/Agreed Proposed Jury Instructions (jury trial only)

  • Disputed Proposed Jury Instructions (jury trial only)

  • Joint Proposed Verdict Forms (jury trial only)

  • Joint Proposed Statement of the Case (jury trial only)

  • Proposed Additional Voir Dire Questions, if any (jury trial only)

  • Evidentiary Objections to Declarations of Direct Testimony (bench trial only)



cc: ADR                                                           Initials of Deputy Clerk: mku




______________________________________________________________________________
                         CIVIL MINUTES – GENERAL                            2
